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  1   THOMAS M. FERLAUTO (SBN 155503)
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  4
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  5   Email: TMF@lawofficeTMF.com
  6   Attorney for Plaintiff, JOSHUA ASSIFF
  7
  8                          UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
 10
 11   JOSHUA ASSIFF,                               Case No. 2:22-cv-05367 RGK (MAAx)
 12
                       Plaintiff,                  EX PARTE APPLICATION
 13                                                CONTINUING HEARING ON
            v.
 14                                                MOTION FOR SUMMARY
      COUNTY OF LOS ANGELES;                       JUDGMENT; DECLARATION OF
 15                                                THOMAS M. FERLAUTO IN
      SHERIFF DEPUTY BADGE
 16   NUMBER 404532;                               SUPPORT THEREOF
      And DOES 1 through 10,
 17                                                Action Filed: August 3, 2022
 18                    Defendants.                 Pretrial Conference: July 10, 2023
                                                   Trial Date: July 25, 2023
 19
 20                                                Assigned to: Hon. R. Gary Klausner,
                                                   District Judge, Courtroom 850
 21
 22                                                All Discovery Matters Referred to: Hon.
                                                   Maria A. Audero, District Judge
 23
 24         TO THE COURT, ALL PARTIES IN THIS ACTION, AND TO THEIR
 25   RESPECTIVE ATTORNEYS OF RECORD:
 26         PLEASE TAKE NOTICE THAT Plaintiff, JOSHUA ASSIFF (hereinafter
 27   “Plaintiff”) hereby makes this ex parte application to continue the hearing on
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                 EX PARTE APPLICATION TO CONTINUE HEARING ON MOTION FOR SUMMARY JUDGMENT
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  1   Defendant’s Motion For Summary Judgment from June 26, 2023 to July 10, 2023 or
  2   to otherwise provide Plaintiff with additional time to file his opposition.
  3         The undersigned counsel has advised counsel for Defendants COUNTY OF
  4   LOS ANGELES and TRAVIS KELLY that such an ex parte request will be made to
  5   this Court. Defendant’s counsel has indicated that Defendants intend to oppose this
  6   application.
  7         Plaintiff has not sought or obtained any previous extensions of this deadline.
  8   Said continuance is not in violation of the scheduling order in this case. The
  9   requested continuance of the hearing will not necessitate a continuance of the trial as
 10   the hearing on the motion will be concurrent with the pretrial conference. Such an
 11   extension is timely and is in the interest of justice as the continuance is necessary to
 12   allow Plaintiff to use as yet uncompleted discovery in Plaintiff’s opposition to the
 13   motion for summary judgment.
 14         On May 12, 2023, the Court denied Defendants’ motion to continue trial and
 15   other pre-trial deadlines, but permitted the parties to agree to conduct the depositions
 16   of the Defendants (who failed to appear at their noticed depositions) after the
 17   discovery cut-off. The deposition of Defendant KELLY has been scheduled for May
 18   30, 2023, but a date for the deposition of the persons most knowledgeable at
 19   Defendant COUNTY OF LOS ANGELES on issues crucial to Plaintiff’s claim,
 20   initially set for April 26, 2023, has not yet been set.
 21         On May 24, 2023, Defendants filed a motion for partial summary judgement
 22   set for hearing on June 26, 2023, with an opposition deadline of June 5, 2023. To
 23   oppose this motion on the merits, Plaintiff will require the deposition transcript of
 24   both Defendant KELLY and the persons most knowledgeable at the COUNTY OF
 25   LOS ANGELES.          However, the transcript of KELLY’s deposition will not be
 26   prepared, and the deposition of the COUNTY OF LOS ANGELES will not have even
 27   taken place yet. Since Plaintiff’s expert needs this discovery to complete his report,
 28   even his opinions will not be complete.

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  1         In the interests of justice, Plaintiff respectfully requests that the hearing on
  2   Defendant’s Motion For Summary Judgment be continued to July 10, 2023 or that
  3   Plaintiff be given additional time to file an opposition so that Plaintiff has a fair
  4   opportunity to use this late but crucial discovery in Plaintiff’s opposition.
  5
  6               28 2022
      DATED: May ___,                    The Law Office Of Thomas M. Ferlauto, APC
  7
  8                                      By: _____________________________________
  9
                                             Thomas M. Ferlauto
                                             Attorney For: Plaintiff, JOSHUA ASSIFF
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                 EX PARTE APPLICATION TO CONTINUE HEARING ON MOTION FOR SUMMARY JUDGMENT
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  1                      DECLARATION OF THOMAS M. FERLAUTO
  2          I, Thomas M. Ferlauto, declare as follows:
  3          1.       I am an attorney licensed to practice law in the State of California, and
  4   I am Plaintiff’s counsel of record herein. Consequently, I have personal knowledge
  5   of the following:
  6          2.       Plaintiff is a 21-year old black male and a student at Antelope Valley
  7   College where he plays basketball.            Plaintiff was driving from his home to a
  8   teammate’s house in order to carpool to basketball practice. For no apparent reason
  9   and without probable cause, KELLY, a male Caucasian motorcycle Sheriff deputy,
 10   pulled Plaintiff over. For no apparent reason and without probable cause, KELLY –
 11   as well as other deputies who subsequently responded to the call – all tasered, choked,
 12   pepper sprayed, beat and arrested Plaintiff. Plaintiff has asserted two causes of action
 13   – the First Cause of Action against KELLY for violation of 42 USC § 1983 (arrest
 14   without probable cause and with excessive force), and the Second Cause of Action
 15   against COUNTY OF LOS ANGELES for violation of 42 USC § 1983 (Monell
 16   liability).
 17          3.       Plaintiff has complied with all of his discovery obligations. Plaintiff
 18   appeared for his deposition and gave testimony on April 14, 2023. Plaintiff made his
 19   expert witness disclosure -- including expert witness report -- in a timely fashion on
 20   May 10, 2023. Defendants have already noticed the deposition of Plaintiff’s expert
 21   for May 31, 2023.
 22          4.       Defendants have not complied with their discovery obligations.
 23          5.       The discovery cut-off in this action was and is May 10, 2023.
 24          6.       On March 31, 2023, Plaintiff properly noticed KELLY’s deposition for
 25   April 25, 2023. Plaintiff offered to reset the deposition for any mutually agreeable
 26   date prior to the discovery cut-off.
 27          7.       On March 31, 2023, Plaintiff properly noticed the deposition of the
 28   persons most knowledgeable at COUNTY OF LOS ANGELES about 9 certain

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                    EX PARTE APPLICATION TO CONTINUE HEARING ON MOTION FOR SUMMARY JUDGMENT
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  1   relevant topics for April 26, 2023.       Plaintiff offered to reset the deposition for any
  2   mutually agreeable date prior to the discovery cut-off.
  3         8.      Defendants failed to offer alternative deposition dates prior to the
  4   discovery cut-off for Defendant KELLY, and Defendant KELLY failed to appear for
  5   his scheduled deposition on April 25, 2023.
  6         9.      Defendants failed to offer alternative deposition dates prior to the
  7   discovery cut-off for Defendant the COUNTY OF LOS ANGELES, and Defendant
  8   the COUNTY OF LOS ANGELES failed to appear for its scheduled deposition on
  9   April 26, 2023.
 10         10.     On May 10, 2023, Defendants brought an ex parte application seeking
 11   to continue the trial date and other pre-trial deadlines.
 12         11.     On May 12, 2023, the Court denied Defendants’ motion to continue trial
 13   and other pre-trial deadlines, but permitted the parties to agree to conduct the
 14   depositions of the Defendants (who failed to appear at their noticed depositions) after
 15   the discovery cut-off.
 16         12.     In response to the Court’s order, Defendants offered two dates for the
 17   deposition of Defendant KELLY, but then withdrew one of them. Thus, Defendants
 18   only offered one available date for Defendant KELLY. Plaintiff accepted that date,
 19   and the deposition of Defendant KELLY has been scheduled for May 30, 2023.
 20   However, I have been notified that given the Court Reporter’s calendar and work
 21   flow, the deposition transcript will not be available until after June 5, 2023 – the date
 22   that the opposition to Defendants’ motion for summary judgment is due.
 23         13.     For the deposition of the persons most knowledgeable on 9 topics at
 24   Defendant the COUNTY OF LOS ANGELES, Defendants offered a partial date with
 25   limited time for questioning for one witness on one topic and a partial date with
 26   limited time for questioning (during my son’s high school graduation ceremony) for
 27   another topic. Defendants have not offered a workable mutually agreeable date for
 28   the deposition of Defendant the COUNTY OF LOS ANGELES. However, I have

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  1   been promised that they are working to provide me with dates soon. In any event,
  2   the deposition transcript of this deposition will not be available until after June 5,
  3   2023 – the date that the opposition to Defendants’ motion for summary judgment is
  4   due.
  5          12.     On May 24, 2023, Defendants filed a motion for partial summary
  6   judgement set for hearing on June 26, 2023, with an opposition deadline of June 5,
  7   2023. To oppose this motion on the merits, Plaintiff will require the deposition
  8   transcript of both Defendant KELLY and Defendant the COUNTY OF LOS
  9   ANGELES. However, the transcript of KELLY’s deposition will not be prepared,
 10   and the deposition of the COUNTY OF LOS ANGELES will not have even taken
 11   place yet. Since Plaintiff’s expert needs this discovery to complete his report, even
 12   his opinions will not be complete.
 13          13.     In the interests of justice, Plaintiff respectfully requests that the hearing
 14   on Defendant’s Motion For Summary Judgment be continued to July 10, 2023 or that
 15   Plaintiff be given additional time to file an opposition so that Plaintiff has a fair
 16   opportunity to use this late but crucial discovery in Plaintiff’s opposition.
 17          14.     Having reviewed the motion, I can state the depositions of Defendants
 18   KELLY and COUNTY OF LOS ANGELES and the updated expert report of Jeff
 19   Nobel will be crucial to opposing the motion and establishing the existence of factual
 20   issues that need to be tried.
 21          I declare under penalty of perjury under the laws of the State of California and
 22   the United States of America that the foregoing is true and correct. Executed this
 23   ___
       28 day of May, 2023 in Orange County, California.

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 27                                                      THOMAS M. FERLAUTO
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                   EX PARTE APPLICATION TO CONTINUE HEARING ON MOTION FOR SUMMARY JUDGMENT
